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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)                     Order Filed on June 7, 2019 by
                                                                       Clerk U.S. Bankruptcy Court
  LAW OFFICES OF KENNETH L. BAUM LLC                                      District of New Jersey

  167 Main Street
  Hackensack, New Jersey 07601
  (201) 853-3030
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  Kenneth L. Baum, Esq.
  Attorneys for Debtors-in-Possession
  In re:                                                Case No. 19-17900 (SLM)
  EZ MAILING SERVICES, INC. d/b/a EZ
                                                        Chapter 11
  WORLDWIDE EXPRESS AND UNITED
  BUSINESS EXPRESS,
                                                        Hearing Date: 06/06/2019
                          Debtor-in-Possession.

  In re:                                                Case No. 19-17906 (SLM)
  UNITED BUSINESS FREIGHT FORWARDERS,
                                                        Chapter 11
  LLC,
                          Debtor-in-Possession.         Hearing Date: 06/06/2019



   ORDER AUTHORIZING AND APPROVING THE SALE OF THE DEBTORS’ ASSETS
    RELATED TO THEIR VERNON, CALIFORNIA AND AMAZON OPERATIONS TO
      QX LOGISTIX LLC, FREE AND CLEAR OF CERTAIN LIENS AND OTHER
  INTERESTS, PURSUANT TO SECTIONS 363(b), (f), AND (m) OF THE BANKRUPTCY
     CODE, INCLUDING, INTER ALIA, THAT CERTAIN TRANSITION SERVICES
       AGREEMENT BY AND BETWEEN DEBTORS AND QX LOGISTIX, LLC

        The relief set forth on the following pages, numbered two (2) through fifteen (15), is
 hereby ORDERED.
DATED: June 7, 2019




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                        TO SECTIONS 363(b), (f), AND (m) OF THE BANKRUPTCY CODE,
                        INCLUDING, INTER ALIA, THAT CERTAIN TRANSITION
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                        LOGISTIX, LLC

         THIS MATTER having been opened to the Court upon the joint motion (the

 “Motion”)1 of EZ Mailing Services, Inc. d/b/a EZ Worldwide Express and United Business

 Express and United Business Freight Forwarders, LLC, the above-referenced debtors-in-

 possession (together, the “Debtors”), by and through their undersigned counsel, pursuant to

 Sections 105(a) and 363 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

 “Bankruptcy Code”), Rules 2002, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Local Rules of the United States Bankruptcy Court for the

 District of New Jersey (the “Local Rules”) 6004-1 and 6004-2, for entry of an order authorizing

 and approving (i) the sale of the Debtors’ assets related to their Vernon, California and Amazon

 operations (the “California Assets”) to QX Logistix LLC (“QX Logistix”), free and clear of

 certain liens, encumbrances, and other interests (the “Sale”), except to the extent set forth in the

 Asset Purchase Agreement, and (ii) the Asset Purchase Agreement, and granting related relief;

 and upon consideration of the Motion and all pleadings related thereto; and due and proper

 notice of the Motion, the Sale Hearing, and the Sale having been provided to all persons and

 entities required to be served in accordance with the Bankruptcy Code, the Bankruptcy Rules, the


         1
          Unless otherwise noted, the capitalized terms herein shall have the definitions ascribed
 to them in the Motion.



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 Local Rules and Orders of this Court; and it appearing that no other or further notice of the

 Motion, the Sale Hearing, or the Sale shall be required; and it appearing that the Court has

 jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and 1334; and it

 appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N) and (O); and it

 appearing that venue of these proceedings and the Motion is proper pursuant to 28 U.S.C. §§

 1408 and 1409; and the Debtors have the legal power and authority to convey all of their rights,

 title and interest in and to the California Assets; provided, however, that the conveyance thereof

 shall not be free and clear of any lien or right, title and interest of North Mill Capital LLC

 (“NMC”) in any of the California Assets and shall be, in all applicable respects, subject to the

 terms and conditions of any and all agreements by and between the Debtors or QX Logistix and

 NMC that must, as a condition precedent to the closing of the sale of any of the California

 Assets, be executed and delivered to NMC, including without limitation: (A) that certain

 Accounts Receivable Agreement with Recourse by and between NMC and QX Logistix

 (together with the related agreements and documents executed in connection therewith, the “QX

 Logistix AR Agreement With Recourse”), (B) that certain Assumption and Guaranty

 Agreement (together with the agreements and documents executed in connection therewith, the

 “QX Logistix Assumption and Guaranty Agreement”), and (C) that certain Amendment No. 2



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 to Accounts Receivable Agreement with Recourse (and the guarantor acknowledgement and

 agreement executed by each of the individual guarantors) by and between the Debtors and NMC

 (“Amendment No. 2 To AR Agreement”), each of (A), (B) and (C) having been previously

 filed with the Court in substantially final forms; and the Debtors and their professionals have

 actively marketed the California Assets and conducted a sale process in compliance with the

 Bidding Procedures Order, and have afforded potential purchasers a full and fair opportunity to

 make higher and better offers; and QX Logistix is the successful bidder which submitted the

 highest and/or best offer for the California Assets, and its offer is fair and reasonable; and the

 Debtors have demonstrated a sound business justification and purpose of the Sale and their entry

 into the Asset Purchase Agreement in the final form thereof which is annexed hereto as Exhibit

 A (the “Asset Purchase Agreement”), and the Transition Services Agreement in connection

 therewith in the final form thereof which is annexed hereto as Exhibit B (the “Transition

 Services Agreement”); and it appearing that the relief requested is in the best interest of the

 Debtors and their estates, and after due deliberation, and sufficient cause appearing therefor, it is

 hereby

          ORDERED THAT:

          1.    The relief requested in the Motion is granted as set forth herein.



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        2.      The objections of Utica Leaseco, Inc. [Docket No. 106], Mercedes Benz Financial

 Services USA LLC [Docket No. 103], and the informal objections of Artex Risk Solutions, Ltd.

 as Managers of Trip Insurance Co., Ltd. are resolved by the affirmative representation of the

 Debtors and QX Logistix that (1) none of their collateral is included within the California Assets

 or being sold as part of the Sale and (2) none of their collateral will be used by QX Logistix after

 the closing of the Sale.

        3.      The Objection to Cure Amount and Adequate Assurance for Vernon Warehouse

 Facility by Metropolitan Life Insurance Company [Docket No. 104] has been resolved by the

 Consent Order Assuming and Assigning Lease with Metropolitan Life Insurance Company (the

 “Consent Order”) that will be entered on the docket contemporaneously with this Order. To the

 extent there is any conflict between the Consent Order and this Order, the terms of the Consent

 Order shall control.

        4.      The objection [Docket No. 105] of Edward Bond, Plan Administrator under the

 prior chapter 11 proceeding of E Z Mailing Services Inc., dba E Z Worldwide Express and United

 Business Express, and United Business Freight Forwarders, LLC, Lead Case No 16-10615 (the

 "Plan Administrator") having been withdrawn because of the Debtors’ pending motion seeking

 approval of a settlement agreement between, among others, the Debtors, the Plan Administrator



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 and QX Logistix that settles and compromises the Plan Administrator’s asserted various direct

 claims against certain of QX Logistix’s affiliates as well as QX Logistix including claims for fraud,

 breach of contract, breach of fiduciary duty and unjust enrichment.

        5.      All other objections, reservations of rights and responses concerning the Motion

 are resolved in accordance with the terms of this Sale Order and as set forth in the record of the

 Sale Hearing and to the extent any such objection or response was not otherwise withdrawn,

 waived or settled, it is overruled on the merits and denied..

        6.      The sale of the California Assets to QX Logistix, free and clear of certain liens,

 claims, and other interests (other than those of NMC, which shall not be impaired or adversely

 affected in any way), on the terms and conditions set forth in the Asset Purchase Agreement, is

 approved pursuant to Sections 363(b) and (f) of the Bankruptcy Code.

        7.      The consideration provided by QX Logistix for the California Assets and provided

 by Azadian Group, LLC (“Azadian Group”) to NMC under the terms and conditions of that

 certain Junior Subordinated Participation Agreement by and between NMC and Azadian Group

 under and pursuant to the Asset Purchase Agreement, including the portion of the consideration

 that consisted of the credit bid, is fair and reasonable and shall be deemed for all purposes to

 constitute reasonably equivalent value and fair consideration under the Bankruptcy Code and any



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 other applicable law, and the sale may not be avoided, or costs or damages imposed or awarded,

 under Section 363(n) or any other provision of the Bankruptcy Code.

        8.      The Sale transaction is undertaken by QX Logistix in good faith, QX Logistix is a

 buyer in good faith of the California Assets as that term is used in Section 363(m) of the

 Bankruptcy Code, and QX Logistix is entitled to all protections afforded by Section 363(m) of the

 Bankruptcy Code. Accordingly, the reversal or modification on appeal of the authorization

 provided herein to consummate the Sale shall not affect the validity of the sale, unless such

 authorization is duly stayed pending appeal.

        9.      Except for the Assumed Liabilities (as defined in the Asset Purchase Agreement,

 which specifically include the obligations arising under the agreements and documents executed

 in favor of and delivered to NMC pursuant thereto, including but not limited to the QX Logistix

 AR Agreement with Recourse and the QX Logistix Assumption and Guaranty Agreement), and as

 otherwise expressly provided in the Asset Purchase Agreement and the Transition Services

 Agreement, QX Logistix is not assuming nor shall it or any affiliate of QX Logistix be in any way

 liable or responsible, as a successor or otherwise, for any liabilities, debts, or obligations of the

 Debtors in any way relating to or arising from the Debtors’ ownership or use of the California

 Assets prior to the consummation of the transactions contemplated by the Asset Purchase



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 Agreement, or any liabilities calculable by reference to the Debtors or their operation of the

 California Assets, or relating to continuing or other conditions existing on or prior to the Closing

 Date, which liabilities, debts, and obligations are hereby extinguished insofar as they give rise to

 liability, successor or otherwise against QX Logistix or any affiliate of QX Logistix. For the

 avoidance of doubt, the provisions of this paragraph 9 are subject to such obligations as QX

 Logistix has expressly agreed to undertake and perform pursuant to the QX Logistix AR

 Agreement with Recourse, the QX Logistix Assumption and Guaranty Agreement and the

 Transition Services Agreement approved by this Court as part of and in connection with the

 approval of the Asset Purchase Agreement.

        10.     Unless otherwise set forth in the Asset Purchase Agreement, the Transition Services

 Agreement and/or in any of the agreements and documents executed in favor of and delivered to

 NMC in connection with a closing under the Asset Purchase Agreement, including but not limited

 to the QX Logistix AR Agreement and the QX Logistix Assumption and Guaranty Agreement,

 QX Logistix shall not be deemed a successor of or to the Debtors or the Debtors’ estates with

 respect to claims against the Debtors and the California Assets, and QX Logistix or any affiliate

 of QX Logistix shall not be liable in any way for any such claims. Unless otherwise set forth in

 the Asset Purchase Agreement and/or the Transition Services Agreement and/or in any of the



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 agreements and documents executed in favor of and delivered to NMC in connection with a closing

 under the Asset Purchase Agreement, including but not limited to the QX Logistix AR Agreement

 and the QX Logistix Assumption and Guaranty Agreement, upon closing of the Sale, all creditors,

 employees and other parties in interest of the Debtors are permanently and forever barred,

 restrained and enjoined from (a) asserting any claims or enforcing remedies, or commencing or

 continuing in any manner any action or other proceeding of any kind against QX Logistix or any

 affiliate of QX Logistix that relate to the Debtors or the California Assets, or (b) asserting any

 claim or enforcing any remedies under any theory of successor liability, de facto merger,

 substantial continuity or similar theory.

        11.     The Debtors are authorized and directed to execute, assume, assign, and deliver all

 contracts, agreements, assignments, conveyances, or other documents and to take such other action

 that may be necessary to fulfill the terms and provisions of the Asset Purchase Agreement and/or

 the Transition Services Agreement, including without limitation with respect to any agreements

 and documents to be executed and delivered by the Debtors to NMC in connection with the

 consummation of the Sale, which agreements and documents shall include (but shall not be limited

 to) Amendment No. 2 to the AR Agreement, the terms and conditions of which are hereby




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 expressly approved by this Court as being appropriate and necessary to the Debtors consummation

 of the Asset Purchase Agreement and/or the Transition Services Agreement.

        12.     Unless otherwise set forth herein, in the Asset Purchase Agreement, the Transition

 Services Agreement and/or any of the agreements and documents executed in favor of and

 delivered to NMC pursuant hereto and thereto, including but not limited to the QX Logistix AR

 Agreement, the QX Logistix Assumption and Guaranty Agreement and Amendment No. 2 to the

 AR Agreement, pursuant to Section 363(f) of the Bankruptcy Code, the Sale shall be free and clear

 of all liens, claims, encumbrances, and interests of any kind and nature (other than liens, claims,

 encumbrances and interests granted by the Debtors, QX Logistix and any other person or entity in

 favor of NMC, which shall be unaffected by the Sale in any manner not explicitly provided for in

 agreements executed by or in favor of NMC), whether arising before or after the commencement

 of these cases, and whether imposed by agreement, understanding, law, equity, or otherwise (with

 the exception of certain permitted encumbrances set forth in the Asset Purchase Agreement), with

 any valid liens or security interests to attach to the sale proceeds in the same order of priority as

 they existed before the Sale. For the avoidance of doubt, no provision in this paragraph 12, any

 other provision in this Sale Order, and any of the documents and agreements to be executed in

 connection with and/or at the closing of the Sale (other than in any agreements or documents



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 executed by or in favor of NMC), shall limit, modify or impair the liens, claims, encumbrances

 and interests of NMC.

        13.     Unless otherwise set forth in Paragraph 9 herein, the Asset Purchase Agreement,

 the Transition Services Agreement and/or any of the agreements and documents executed in favor

 of and delivered to NMC pursuant hereto or thereto, all persons and entities, including, but not

 limited to, all debt security holders, equity security holders, governmental, tax, and regulatory

 authorities, lenders, trade and other creditors, holding claims or interests in the California Assets

 (other than permitted encumbrances set forth in the Asset Purchase Agreement) arising in any way

 in connection with any acts, or failure to act, of the Debtors or the Debtors’ predecessors or

 affiliates, claims (as that term is defined in Section 101(5) of the Bankruptcy Code), obligations,

 demands, or guaranties of any kind and nature against or in the Debtors or the California Assets

 (whether legal or equitable, secured or unsecured, matured or unmatured, contingent or

 noncontingent, senior or subordinated), arising under or out of, in connection with, or in any way

 relating to the Debtors, the California Assets, the operation of the Debtors’ businesses prior to the

 Closing Date, or the transfer of the California Assets to QX Logistix, hereby are, and will be,

 forever barred, estopped, and permanently enjoined from asserting against the QX Logistix, its

 successors or assigns, their property, or any designee, such persons’ or entities’ interests or claims



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 in the California Assets or against the Debtors. For the avoidance of doubt, no provision in this

 paragraph 13, any other provision of this Sale Order, and/or any of the documents and agreements

 to be executed in connection with and/or at the closing of the Sale (other than in any agreements

 or documents executed by or in favor of NMC), shall limit, modify or otherwise impair the liens,

 claims, encumbrances and interests of NMC.

        14.     Unless otherwise set forth herein, in the Asset Purchase Agreement, the Transition

 Services Agreement, and/or any of the agreements and documents executed in favor of and

 delivered to NMC pursuant hereto or thereto, the transfer of the California Assets to QX Logistix

 does not require any consents and/or constitute a legal, valid and effective transfer of the

 California Assets, and shall vest QX Logistix with all right, title and interest of the Debtors in and

 to the California Assets.

        15.     Subject to a final hearing, the Transition Services Agreement is hereby approved

 on an interim basis, and the Debtors are authorized to execute the same in connection with the

 closing of the Sale.

        16.     As explicitly provided for in the Transition Services Agreement, as of the closing

 of the Sale all accounts receivable earned by QX Logistix from and after the date of the closing of

 the Sale (regardless of the fact that such accounts receivable may be generated by the temporary



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 services to be provided for QX Logistix by the Debtors under the Transition Services Agreement)

 shall be the sole and exclusive property of NMC pursuant to the QX AR Agreement with Recourse.

        17.     If, after the closing of the Sale, the Debtors receive any amounts due and owing to

 QX Logistix on account of services provided on or after the closing of the Sale, the Debtors shall

 immediately turn such amounts over to NMC pursuant to the QX AR Agreement with Recourse

 and, until doing so, hold in trust and safekeeping separate and apart from the Debtors’ other

 property and as the sole and separate property of NMC, any amounts, whether delivered by cash,

 check (payable the Debtors, QX Logistix, NMC or any combination thereof), money order or other

 form of payment.

        18.     The provisions of Bankruptcy Rule 6004(h) are hereby waived.

        19.     This Sale Order, the Asset Purchase Agreement, the Transition Services

 Agreement, and any agreements and documents executed pursuant hereto or thereto, shall be

 binding in all respects upon all creditors (whether known or unknown) of any Debtor, all

 successors, assigns, affiliates and subsidiaries of any Debtor, and any subsequent trustee appointed

 in the Debtors’ Chapter 11 cases or upon a conversion of the Debtors’ bankruptcy cases to cases

 under Chapter 7 of the Bankruptcy Code or a dismissal of either or both of the Debtors’ bankruptcy

 cases and shall not be subject to rejection or avoidance. To the extent any provision of this Sale



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                         DEBTORS’ ASSETS RELATED TO THEIR VERNON, CALIFORNIA
                         AND AMAZON OPERATIONS TO QX LOGISTIX LLC, FREE AND
                         CLEAR OF CERTAIN LIENS AND OTHER INTERESTS, PURSUANT
                         TO SECTIONS 363(b), (f), AND (m) OF THE BANKRUPTCY CODE,
                         INCLUDING, INTER ALIA, THAT CERTAIN TRANSITION
                         SERVICES AGREEMENT BY AND BETWEEN DEBTORS AND QX
                         LOGISTIX, LLC

 Order is inconsistent with the terms of the Asset Purchase Agreement or the Transition Services

 Agreement, this Sale Order shall govern.

        20.       Notwithstanding anything stated herein or any other document to the contrary,

 neither Porzio, Bromberg & Newman, P.C. nor the Plan Administrator are waiving any claims or

 causes of action against Azadian, Change Capital, Chris Carey, QX Logistix, or any affiliates of

 the aforementioned parties, including claims for fraud, breach of contract, breach of fiduciary duty

 and unjust enrichment related to the Sale or pre- or post-Sale activity, and nothing herein shall be

 interpreted as impairing or prejudicing the rights of Porzio, Bromberg & Newman, P.C. and the

 Plan Administrator with respect to such claims. For the avoidance of doubt, no releases or

 injunctions provided for herein shall apply to Porzio, Bromberg & Newman, P.C. or the Plan

 Administrator.

        21.       For the avoidance of doubt, nothing in this Order releases the individual claims of

 creditors or other parties in interest that are not derivative of claims they have against the Debtors.

        22.       Nothing in any order of this Court or contained in any plan of reorganization or

 liquidation confirmed in the Debtors’ Chapter 11 cases, or in any subsequent or converted cases

 of the Debtors under Chapter 7 of the Bankruptcy Code or in the event of the dismissal of either

 or both of the Debtors’ bankruptcy cases, shall conflict with or derogate from the provisions of the



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 Debtor:                EZ MAILING SERVICES, INC. AND UNITED BUSINESS FREIGHT
                        FORWARDERS, LLC
 Case No.               CASE NOS. 19-17900 (SLM) AND 19-17906 (SLM)
 Caption of Order:      ORDER AUTHORIZING AND APPROVING THE SALE OF THE
                        DEBTORS’ ASSETS RELATED TO THEIR VERNON, CALIFORNIA
                        AND AMAZON OPERATIONS TO QX LOGISTIX LLC, FREE AND
                        CLEAR OF CERTAIN LIENS AND OTHER INTERESTS, PURSUANT
                        TO SECTIONS 363(b), (f), AND (m) OF THE BANKRUPTCY CODE,
                        INCLUDING, INTER ALIA, THAT CERTAIN TRANSITION
                        SERVICES AGREEMENT BY AND BETWEEN DEBTORS AND QX
                        LOGISTIX, LLC

 Asset Purchase Agreement, the Transition Services Agreement, the terms of this Sale Order and/or

 any terms and provisions of the agreements and documents executed in accordance with either.

        23.     The United States Trustee’s quarterly fees shall be paid by the Debtors as they

 become due and owing; provided, however, nothing herein prejudices the rights of the Debtors,

 the United States Trustee, or any other party to challenge the calculation of the United States

 Trustee’s quarterly fees.

        24.     This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation of this Sale Order, the Asset Purchase Agreement, the Transition Services

 Agreement, and any agreements or documents executed in accordance with either.




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